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10                                UNITED STATES DISTRICT COURT
11                             NORTHERN DISTRICT OF CALIFORNIA
12                                     SAN FRANCISCO DIVISION

13   IN RE GOOGLE PLAY STORE                               Case No. 3:21-md-02981-JD
14   ANTITRUST LITIGATION
                                                           [PROPOSED] ORDER GRANTING
15   THIS DOCUMENT RELATES TO:                             DEFENDANTS’ EMERGENCY
                                                           MOTION TO STAY THE COURT’S
16   In re Google Play Consumer Antitrust                  AUGUST 18, 2021 ORDER
     Litigation, Case No. 3:20-cv-05761-JD
17                                                         Place: Courtroom 11, 19th Floor
     In re Google Play Developer Antitrust                 Judge: Hon. James Donato
18
     Litigation, Case No. 3:20-cv-05792-JD
19
     State of Utah, et al. v. Google LLC, et al., Case
20   No. 3:21-cv-05227-JD
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28                                                           Case Nos. 3:21-md-02981-JD; 3:20-cv-05761-JD;
                                                                        3:20-cv-05792-JD; 3:21-cv-05227-JD
                       [PROPOSED] ORDER RE: DEFENDANTS’ EMERGENCY MOTION TO STAY
       Case 3:21-cv-05227-JD Document 134-2 Filed 08/20/21 Page 2 of 2



 1          The Court, having read and considered Defendants Google LLC, Google Ireland Limited,

 2   Google Commerce Ltd., Google Asia Pacific Pte. Ltd., and Google Payment Corp.’s (collectively,

 3   “Google”) Emergency Motion to Stay the Court’s August 18, 2021 Order, the memoranda filed

 4   by the parties, the Declaration of Brian Rocca in support, and good cause appearing therefor, the

 5   Court hereby GRANTS Google’s Emergency Motion to Stay the Court’s August 18, 2021 Order.

 6          IT IS HEREBY ORDERED THAT:

 7      1. The August 18, 2021 Order is stayed until the Court has acted on Google’s Renewed

 8          Application to Seal. Plaintiffs are neither required nor permitted to file their unredacted

 9          Complaints while Google’s Renewed Application to Seal remains pending before this
10          Court.

11      2. If the Court denies Google’s Renewed Application to Seal, Plaintiffs shall file unredacted

12          versions of their complaints no earlier than seven days after the Ninth Circuit’s mandate

13          has issued in connection with any appeal Google seeks, subject to and to the extent

14          permitted by such mandate.

15          OR, IN THE ALTERNATIVE:

16      3. In the event the Court denies Google’s Emergency Motion to Stay or requires Plaintiffs to

17          file unredacted complaints before any appeal is resolved, Plaintiffs shall file unredacted

18          versions of their Complaints no earlier than seven days after such an order is entered. If

19          Google files a motion to stay pending appeal in the Ninth Circuit during that seven-day
20          period, Plaintiffs shall not file unredacted versions of their Complaints while Google’s

21          stay motion remains pending before the Ninth Circuit.

22   IT IS SO ORDERED.
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24       Dated: _____________
                                                    The Honorable James Donato
25                                                  United States District Judge

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                                                              Case Nos. 3:21-md-02981-JD; 3:20-cv-05761-JD;
                                                      1                  3:20-cv-05792-JD; 3:21-cv-05227-JD
                      [PROPOSED] ORDER RE: DEFENDANTS’ EMERGENCY MOTION TO STAY
